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                         TINITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               LUBBOCKDIVISION

UNITED STATES OF AMERICA,
   Plaintiff,

                                                         NO. 5:19-CR-095-01-H

WILLIAM PATRICK WILLIAMS (1),
   Defendant.


                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF TIIE UNITED STATES MAGISTRATE JI]DGE
                          CONCERNING PLEA OF GIJILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Deflendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge-and finding that the

Defendant knowingly and voluntarily waived his right to object to the Report and

Recommendation-the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SO ORDERED,

       Datedoctober    1-'   .zozo.


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                                          JAMES WESLEY HENDRIX
                                          UNITED STATES DISTzuCT JUDGE
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